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                       THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF TENNESSEE
                               WESTERN DIVISION


KIMBERLY DIEI,                               )
                                             )
Plaintiff,                                   )
                                             )
v.                                           )            Case No. 21-cv-2071-JTF-cgc
                                             )
RANDY BOYD, et al.,                          )
                                             )
Defendants.                                  )


              ORDER GRANTING JOINT MOTION TO STAY DISCOVERY


        Before the Court is the Parties’ Joint Motion to Stay Discovery that was filed on November

30, 2021. (ECF No. 46.) For good cause shown, the Motion is GRANTED. The Court will stay

this matter pending a resolution of the pending dispositive motions.

        IT IS SO ORDERED on this 26th day of May 2022.


                                                     s/John T. Fowlkes, Jr.
                                                     JOHN T. FOWLKES, JR.
                                                     UNITED STATES DISTRICT JUDGE
